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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



CORDEL PARSACA,

                Plaintiff,
                                                            CASE NO. 1:22-cv-95
v.
                                                            HON. ROBERT J. JONKER
EQUIFAX INFORMATION
SERVICES, LLC, et al.,

            Defendants.
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                                            ORDER

         The motion for extension to file dismissal papers (ECF No. 16) is DENIED. Plaintiff and

Defendant Equifax settled and memorialized their settlement on March 21, 2022. Evidently,

money has not changed hands, but the Court is not going to leave inactive and resolved cases open

just to serve as a collection mechanism. If the parties want the Court to be available to enforce a

settlement agreement, they can incorporate that into their closing papers. The Court extends the

closing papers deadline to May 20, 2022. After that, the Court may dismiss this case as to

Defendant Equifax for lack of progress.



Dated:      May 6, 2022                      /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE
